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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                             Chief Judge Philip A. Brimmer

 Criminal Case No. 20-cr-00152-PAB

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1. JAYSON JEFFREY PENN,
 2. MIKELL REEVE FRIES,
 3. SCOTT JAMES BRADY,
 4. ROGER BORN AUSTIN,
 5. TIMOTHY R. MULRENIN,
 6. WILLIAM VINCENT KANTOLA,
 7. JIMMIE LEE LITTLE,
 8. WILLIAM WADE LOVETTE,
 9. GARY BRIAN ROBERTS, and
 10. RICKIE PATTERSON BLAKE,

      Defendants.
 _____________________________________________________________________

                                 ORDER
 _____________________________________________________________________

        This matter comes before the Court on Defendants’ Joint Objection to the

 Government’s Notice of Intent to use Evidence of Other Crimes, Wrongs, or Acts

 Pursuant to Federal Rule of Evidence Rule 404(b) [Docket No. 621]. The government

 provides notice of eleven documents that it intends to use at trial that “may be

 construed as other crimes, wrongs, or acts of the defendants under Federal Rule of

 Evidence 404(b)(2).” Docket No. 621-1 at 2. The government believes that the listed

 documents are intrinsic to the conduct alleged in Count One of the superseding

 indictment, but provides notice in the event the Court finds that the evidence is extrinsic.

 Id. at 2-3. Defendants make a general argument that the government does not
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 sufficiently articulate a proper purpose for any Rule 404(b) evidence, as well as specific

 arguments about why the documents are not proper Rule 404(b) evidence. Docket No.

 621 at 3-10.

        Fed. R. Evid. 404(b) states:

        (1) Prohibited Uses. Evidence of any other crime, wrong, or act is not
        admissible to prove a person’s character in order to show that on a
        particular occasion the person acted in accordance with the character.
        (2) Permitted Uses. This evidence may be admissible for another
        purpose, such as proving motive, opportunity, intent, preparation, plan,
        knowledge, identity, absence of mistake, or lack of accident.
        (3) Notice in a Criminal Case. In a criminal case, the prosecutor must:
               (A) provide reasonable notice of any such evidence that the
               prosecutor intends to offer at trial, so that the defendant has a fair
               opportunity to meet it;
               (B) articulate in the notice the permitted purpose for which the
               prosecutor intends to offer the evidence and the reasoning that
               supports the purpose; and
               (C) do so in writing before trial — or in any form during trial if the
               court, for good cause, excuses lack of pretrial notice.

 Count One of the superseding indictment charges defendants with a conspiracy to fix

 prices and rig bids in the broiler chicken industry between 2012 and early 2019. Docket

 No. 101 at 1-2.

        In determining whether to admit evidence under Rule 404(b), the Court looks to

 the four-part test in Huddleston v. United States, 485 U.S. 681, 691-92 (1988), which

 requires that:

        (1) the evidence must be offered for a proper purpose; (2) the evidence
        must be relevant; (3) the trial court must make a Rule 403 determination
        of whether the probative value of the similar acts is substantially
        outweighed by its potential for unfair prejudice; and (4) pursuant to Fed.
        R. Evid. 105, the trial court shall, upon request, instruct the jury that
        evidence of similar acts is to be considered only for the proper purpose for
        which it was admitted.



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 I. APPLICABILITY OF RULE 404(b)

        A preliminary issue is whether Rule 404(b) is applicable to the documents. In the

 government’s notice, it states that it filed the notice out of an “abundance of caution”

 and believes the evidence to be intrinsic to the conduct alleged in Count One. Docket

 No. 621-1 at 2. The defendants have two responses: certain documents are intrinsic to

 the charged crime and other documents are not “bad acts.” Docket No. 621 at 4-10. At

 the time of filing its Rule 404(b) notice, the government did not provide the documents

 in question to the Court. However, on October 19, 2021, the government filed its

 exhibits, which contain the documents in question. See Docket No. 678.

        “If the contested evidence is intrinsic to the charged crime, then Rule 404(b) is

 not even applicable.” United States v. Irving, 665 F.3d 1184, 1212 (10th Cir. 2011).

 Evidence is intrinsic “when the evidence of the other act and the evidence of the crime

 charged are inextricably intertwined or both acts are part of a single criminal episode or

 the other acts were necessary preliminaries to the crime charged.” Id. (quoting United

 States v. Lambert, 995 F.2d 1006, 1007 (10th Cir. 1993)). “[I]ntrinsic evidence is that

 which is ‘directly connected to the factual circumstances of the crime and provides

 contextual or background information to the jury. Extrinsic evidence, on the other hand,

 is extraneous and is not intimately connected or blended with the factual circumstances

 of the charged offense.” Id. (quoting United States v. Parker, 553 F.3d 1309, 1314

 (10th Cir. 2009). The Tenth Circuit regards evidence as intrinsic when it

        •   [i]s inextricably intertwined with the charged conduct,
        •   occurr[s] within the same time frame as the activity in the conspiracy
            being charged,
        •   [i]s a necessary preliminary to the charged conspiracy,


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        •     provide[s] direct proof of the defendant’s involvement with the charged
              crimes,
        •     [i]s entirely germane background information, directly connected to the
              factual circumstances of the crime, or
        •     [i]s necessary to provide the jury with background and context of the
              nature of the defendant's relationship to his accomplice.

 United States v. Kupfer, 797 F.3d 1233, 1238 (10th Cir. 2015) (internal quotation

 marks, footnotes, and alterations omitted). Rule 404(b) does not apply to “evidence of

 acts or events that are part of the crime itself, or evidence essential to the context of the

 crime.” Parker, 553 F.3d at 1314-15.

        A. Document Nos. 1-4

        The Court has found that Document Nos. 1-4 were made during the conspiracy

 and in furtherance of the conspiracy. Compare Docket No. 559 at 20-21 (finding that

 the government showed by a preponderance of the evidence that James log no. 1,

 PILGRIMS-0005822161, and James log nos. 6-8, PILGRIMS-0009031705, PILGRIMS-

 DOJ-0000509305, PILGRIMS-DOJ-0002452440, were made during and in furtherance

 of the conspiracy), with Docket No. 621-1 at 3-4. Therefore, they are intrinsic and Rule

 404(b) does not apply to them.

        B. Document Nos. 5-6

        Document Nos. 5-6 are defendant Rickie Blake’s “hard-copy document[s] with

 phone numbers of competitors and competitor pricing information (e.g. Pilgrim’s, Koch,

 and George’s1) for Church’s” Chicken in 2010 and 2011 respectively. Docket No. 621-1

 at 4. The government states that these documents are permissible because they show

 knowledge of how to conspire and opportunity to conspire. Id.

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            This list includes “M-D” for 2010 as well. See Docket No. 621-1 at 4.

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       Defendants state that these documents are documents of 106 and 79 pages in

 length, respectively, with handwritten notes of contact information for employees of

 other supplies, “companies from which George’s both purchased chicken and to which

 George’s sold chicken,” and the notation “Church’s cost plus” f ollowed by the respective

 year. Docket No. 621 at 4-5. Defendants argue that the government has not

 demonstrated why these documents provide opportunity or knowledge. Id. at 5-6. In

 the alternative, defendants argue that, because the Court has found that Mr. Blake was

 not a member of the conspiracy until October 24, 2016, these pricing documents for

 2010 and 2011 do not demonstrate knowledge or opportunity to conspire in 2016. Id. at

 6.

       The Court has examined the documents and finds that they are intrinsic to the

 charged conspiracy. Though taking place before the conspiracy, the documents

 contain contact information for competitors as well as hand written notes of competitor

 pricing information. See, e.g., GEODOJ_0582773, GEODOJ_0582843. The Court

 finds this is “inextricably intertwined with the charged conduct” and “necessary to

 provide the jury with background and context of the nature of the defendant’s

 relationship to his accomplice.” Kupfer, 797 F.3d at 1238 (internal quotation marks

 omitted). Accordingly, Rule 404(b) is inapplicable to these documents.

       C. Document No. 7

       The description of Document No. 7 states, “Blake received a spreadsheet

 (GEODOJ_0573592) titled DIST NATIONAL ACCOUNTS with competitor pricing

 information (e.g. Marshall, Tyson, George[’]s, Pilgrim[’s], Cagle, Claxton).” Docket No.



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 621-1 at 4. The government states that it is admissible under Rule 404(b) to prove

 knowledge of how to conspire and opportunity to conspire. Id. Defendants state that

 this was a spreadsheet of certain 2009 historical pricing data contained in an email from

 Darrel Keck to Mr. Blake and Bill McClellan of George’s Inc. Docket No. 621 at 6.

 Defendants argue that Mr. Blake’s receipt of the spreadsheet was not a “bad act”

 because there is no evidence that Mr. Keck or Mr. McClellan were part of the alleged

 conspiracy and nor is the spreadsheet germane to knowledge or opportunity to

 conspire. Id.

           The Court has examined the government’s exhibit list for the documents with the

 corresponding Bates numbers and identified them as Exhibits 6316 and 6317. See

 Docket No. 669 at 200 (stating that GEODOJ_0573591 and GEODOJ_0573592

 correspond to exhibits 6316 and 6317 respectively). Exhibit 6316 is an email with no

 content showing an attachment, and Exhibit 6317 is a Microsoft Excel spreadsheet of

 pricing data. The spreadsheet contains comparative pricing of Marshall, Tyson,

 George’s, Pilgrim’s Pride, Cagle, and Claxton for Popeye’s and KFC.2 The Court finds

 that the possession of competitor pricing information over two years before the charged

 conspiracy is extrinsic evidence. Accordingly, Rule 404(b) is applicable to these

 documents.

           D. Document No. 8

           Document No. 8 is an email exchange between Mr. Keck and defendant William

 Kantola, wherein Mr. Keck told Mr. Kantola, “I assume you will portray this info as

           2
               The spreadsheet also has a tab for Church’s Chicken which does not have data
 inputs.

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 Agristats derived???,” and Mr. Kantola responded, “Thanks for the info.” Docket No.

 621-1 at 5. The government states this document is properly admitted under Rule

 404(b) to demonstrate knowledge and opportunity. Id. Defendants argue that the

 government quotes a misleading portion of an email chain, and the statements are

 irrelevant to price fixing or the charged conspiracy. Docket No. 621 at 7.

       Exhibit 9011, Bates number GEODOJ_0574731, is a 2010 email exchange

 wherein Mr. Kantola compares the costs of Church’s Chicken packaging for Koch

 Foods and George’s. The Court finds that the sharing of costs between two suppliers

 two years before the charged conspiracy is extrinsic evidence. Accordingly, Rule

 404(b) is applicable to this document.

       E. Document No. 9

       Document No. 9 is a November 9, 2011 email between defendants William

 Lovette and Jayson Penn regarding increasing profit margins. Docket No. 621-1 at 5.

 In its James order, the Court found that Mr. Lovette and Mr. Penn joined the conspiracy

 by August 2011. Docket No. 559 at 11. The Court finds that the discussion of the need

 to increase revenue or margins between two members of the conspiracy is intrinsic to

 the conspiracy and therefore not Rule 404(b) evidence.

       F. Document No. 10

       Document No. 10 is a May 20, 2011 email from defendant Jimmie Little to

 defendant Roger Austin telling Mr. Austin, “Promote Scott Brady to be the guy to help

 you! He will be awesome and Ledford will help us.” Docket No. 621-1 at 5. Mr. Little

 also emailed Mr. Brady, “Do not forward.” Id. The government states that these emails



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 are properly admitted under Rule 404(b) to prove opportunity to conspire. Id.

 Defendants argue that these emails are simply a personal endorsement of Mr. Brady

 for an internal promotion and Mr. Little sharing this information with Mr. Brady. Docket

 No. 621 at 9. Accordingly, defendants argue, there are no crimes, wrongs, or bad acts

 described and thus Rule 404(b) is inapplicable. Additionally, defendants argue it has

 no probative value. Id. at 10.

        The Court finds that this email is intrinsic to the charged conspiracy because it is

 “necessary to provide the jury with background and context of the nature of the

 defendant’s relationship to his accomplice.” Kupfer, 797 F.3d at 1238. Accordingly,

 Rule 404(b) is in applicable to it.

        G. Document No. 11

        Document No. 11 is an April 22, 2011 email from an individual identified as

 “DeLong” to Mr. Little stating, “My Hero, I’m perplexed here... I enlisted your eloquence

 to get the customer to go 5 days to the distributor, now I get a note from the customer

 that they have changed it to 2 days to distributor? You sure have some unique

 negotiating tactics.” Docket No. 621-1 at 5. Mr. Little responded, “I told u at the

 meeting I was working on 6 for PP and 2 for Koch!” Id. Defendants argue that this is

 “joshing” between Mr. Little and Mr. DeLong, a person not alleged to be a co-

 conspirator, and there is no probative value to the statements because there will be no

 witness to explain the meaning of the statements. Docket No. 621 at 10. The Court

 finds that an email between Mr. DeLong, at Koch Foods, and Mr. Little, at Pilgrim’s

 Pride regarding coordination is “[i]s inextricably intertwined with the charged conduct,”



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 “[i]s entirely germane background information, directly connected to the factual

 circumstances of the crime,” and “[i]s necessary to provide the jury with background

 and context of the nature of the defendant's relationship to his accomplice.” Kupfer,

 797 F.3d at 1238 (internal quotation marks and footnotes omitted). Accordingly, the

 emails are intrinsic and Rule 404(b) is inapplicable to Document No. 11.

        H. Conclusion

        The Court finds that the following documents are intrinsic: Document Nos. 1-6

 and 9-11. The Court finds Document Nos. 7 and 8 are extrinsic.

 II. SUFFICIENCY OF NOTICE

        Because the Court finds that Document Nos. 7 and 8 are extrinsic, the Court will

 make a determination on the sufficiency of the government’s Rule 404(b) notice with

 respect to them.

        The government states that Document No. 7 is appropriately admitted under

 Rule 404(b) because it shows knowledge of how to conspire and opportunity to

 conspire. Docket No. 621-1 at 4. Defendants argue that Document No. 7 is not a “bad

 act” because Mr. Keck, who sent the spreadsheet, and Mr. McClellan, a recipient of the

 spreadsheet along with Mr. Blake, are not alleged to have been part of the conspiracy.

 Docket No. 621 at 6. Defendants also argue that the documents do not demonstrate

 opportunity or knowledge. Id. “[W]hen evidence of prior bad acts is offered, the

 proponent must clearly articulate how that evidence fits into a chain of logical

 inferences, no link of which may be the inference that the defendant has the propensity

 to commit the crime charged.” United States v. Commanche, 577 F.3d 1261, 1267



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 (10th Cir. 2009) (quoting United States v. Himelwright, 42 F.3d 777, 782 (3d Cir. 1994)).

 The Court finds the government’s notice is sufficient and the stated reasons proper. It

 states the purposes for which the Document No. 7 will be offered, which are non-

 propensity reasons.

       The government states that Document No. 8 is appropriately admitted under

 Rule 404(b) because it shows knowledge of how to conspire and opportunity to

 conspire. Docket No. 621-1 at 5. Defendants argue that the statements do not relate

 to price fixing or any conspiracy and do not show knowledge or opportunity. Docket No.

 621 at 7. Defendants further argue that the government is attempting to create undue

 prejudice by insinuating that Mr. Kantola participated in the alleged conspiracy before

 the Court found so in its James order. Id. The Court finds the government’s notice is

 sufficient and the stated reasons proper. It states the purposes f or which the Document

 No. 8 will be offered, which are non-propensity reasons.

 III. Conclusion

       For the foregoing reasons, it is




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       ORDERED that Defendants’ Joint Objection to the Government’s Notice of Intent

 to use Evidence of Other Crimes, Wrongs, or Acts Pursuant to Federal Rule of

 Evidence Rule 404(b) [Docket No. 621] is overruled.


    DATED October 20, 2021.


                                     BY THE COURT:



                                     PHILIP A. BRIMMER
                                     Chief United States District Judge




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